


  Appeals by the defendant, as limited by his motion, from three sentences of the Supreme Court, Kings County (Mondo, J.), all imposed January 9, 2012, upon his pleas of guilty, on the ground that the sentences were excessive.
 

  Ordered that the sentences are affirmed.
 

  The defendant’s purported waiver of his right to appeal was invalid (see People v Bradshaw, 18 NY3d 257, 264-265 [2011]; People v Lopez, 6 NY3d 248, 256 [2006]; People v Taylor, 130 AD3d 949 [2015]; People v Brown, 122 AD3d 133, 138-141 [2014]), and, thus, does not preclude review of his excessive sentence claims. However, the sentences imposed were not excessive (see People v Suitte, 90 AD2d 80 [1982]).
 

  Eng, P.J., Rivera, Austin, Cohen and Barros, JJ., concur.
 
